       Case 1:22-cr-00011-RJL Document 232-1 Filed 09/04/24 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       Case No. 1:22-cr-00011-RJL-02
                                         :
DION RAJEWSKI,                           :
    Defendant.                           :

                                       ORDER

      Upon consideration of the motion for the entry of an Order dismissing Counts

5, 10 & 12 the Second Superseding Indictment for failing to state an offense, opposition

thereto, and the entire record in this case, it is this ____ day of ________________2024,

hereby, ORDERED that the motion is granted. Counts 5, 10 & 12 of the Second

Superseding Indictment are hereby DISMISSED.




                              ________________________________
                              The Honorable Richard J. Leon
                              United States District Judge
                              U. S. District Court for the District of Columbia




                                             1
